Covenant to build a boat. — Plea, accord and satisfaction, after the time for performance. There was evidence that the boat was badly built, and was leaky. It was however received after the time for building had expired. It was contended on the part of the plaintiff, that there was no agreement to take the boat in satisfaction, it was barely received, and if the boat was bad, it ought not to bar this action.
E contra. — It was argued that it was never necessary to prove an express agreement: satisfaction implies an accord. The reception of the boat was a satisfaction. It is not material whether the boat was equal in value to the one described in the covenant. It was received, and by that act all objections were waived.
Receipt and satisfaction implies an accord; but this must be a real satisfaction, and not deceptive. If the transaction be unfair or fraudulent, the law will not imply an agreement.